Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 1 of 7 PageID: 1275



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 EHP60N WAKEMAN LLC, EHP248O CENTER LLC,          UNITED STATES DISTRICT COURT
 EHP120N IVY LLC, EHP242EO BURNETT LLC,           FOR THE DISTRICT OF NEW JERSEY
 ERIC HANTMAN, derivatively on behalf of EHP76B   CIVIL ACTION NO. 2:18-cv-11047-KM-JBC
 HECKEL LLC, EHP224N PARKER LLC, HHP256
 NEPTUNE LLC, UHP461-HHP6600NB SMITH LLC,
                                                                 Civil Action
 and PRIME NY INC., derivatively on behalf of
 EHP105N SCHOFIELD LLC, 475E CATHERINE
 LLC, EHP28-30 GREYLOCK LLC, and EPH312N
 SUMMER LLC,
                     Plaintiffs,
        v.

 GARTH ANDRE NAAR, AVATAR MANAGEMENT
 LLC, and SILVAN REAL ESTATE INCOME FUND,
 LP,
                    Defendants,
         and

 EHP76B HECKEL LLC, EHP224N PARKER LLC,
 HHP256 NEPTUNE LLC, UHP461-HHP6600NB
 SMITH LLC, 475E CATHERINE LLC, EHP28-30
 GREYLOCK LLC, and EPH312N SUMMER LLC.

                       Nominal Defendants.




     COLE SCHOTZ P.C.’S BRIEF IN SUPPORT OF MOTION FOR LEAVE TO
      WITHDRAW AS COUNSEL FOR DEFENDANTS GARTH ANDRE NAAR AND
                        AVATAR MANAGEMENT LLC



 Of Counsel and On the Brief:
       Edward S. Kiel


                                             1
Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 2 of 7 PageID: 1276




                                                   TABLE OF CONTENTS

                                                                                                                                     Page

 TABLE OF AUTHORITIES .......................................................................................................... ii
 PRELIMINARY STATEMENT AND BACKGROUND FACTS ................................................ 1
 LEGAL ARGUMENT .................................................................................................................... 2
 CONCLUSION ............................................................................................................................... 4




                                                                      i
Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 3 of 7 PageID: 1277




                                                  TABLE OF AUTHORITIES

      CASES                                                                                                                          PAGE(S)

 Cherry Hill Convalescent Center, Inc. v. Healthcare Rehab. Sys., Inc., 994
    F.Supp. 244 (D.N.J. 1997) .........................................................................................................3

 Haines v. Liggett Grp., Inc., 814 F.Supp. 414 (D.N.J. 1993) ..........................................................3

 Jacobs v. Pendel, 98 N.J.Super. 252 (App. Div. 1967) ...................................................................3

 Magargal v. N.J., No. 07-cv-3531, 2011 WL 5526077(D.N.J. Nov. 14, 2011) ..............................3

 Marketvision/Gateway Res. v. Priority Pay Payroll, Nos. 10-cv-1537, 10-1611,
   10-2753, 2011 U.S. Dist. Lexis 74851 (D.N.J. July 12, 2011) ..................................................3

 Mazariegos v. Monmouth Cnty. Corr. Inst., No. 12-cv-5626, 2017 WL 6606856
   (D.N.J. Dec. 27, 2017) ...............................................................................................................2

 RULES

 L. CIV. R. 102.1 ...............................................................................................................................2

 R.P.C. 1.16(b)(5)-(6)........................................................................................................................2




                                                                        ii
 58225/0001-16504826v2
Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 4 of 7 PageID: 1278




                PRELIMINARY STATEMENT AND BACKGROUND FACTS

        Cole Schotz P.C. (“Cole Schotz”) was retained in or around July 2018 to represent

 defendants Garth Andre Naar and Avatar Management LLC (collectively, the “Avatar Parties”)

 in this matter. (See Declaration of Edward S. Kiel (“Kiel Decl.”) at ¶ 2.) Pursuant to the

 retainer agreement (“Retainer Agreement”) between Cole Schotz and the Avatar Parties, Cole

 Schotz issues monthly invoices for services and costs. (Id. at ¶ 3.) Payment on the invoices are

 payable upon receipt. (Id.)

        At the time of Cole Schotz’s retention, the Court had entered an order to show cause with

 temporary injunctive relief (the “Order to Show Cause”), restraining the Avatar Parties from

 taking any action relating to the subject-properties or transferring any funds in the Avatar

 Parties’ bank accounts. (Order to Show Cause [Dkt. Entry 5].)

        Since the retention, Cole Schotz has provided substantial services for the Avatar Parties.

 Cole Schotz prepared and filed a response to the Order to Show Cause along with a motion to

 dismiss (the “Motion to Dismiss”).        (Brief of Defendants Garth Andre Naar and Avatar

 Management LLC [Dkt. Entry 35]; Kiel Decl. at ¶ 5.) Cole Schotz also served discovery

 demands and assisted the Avatar Parties in responding to expedited discovery requests from the

 other parties. (Id.) The exchange of discovery involved the review of thousands of pages of

 documents and e-mails. (Id.)

        Following plaintiffs’ filing of an amended complaint (Amended Compl. [Dkt. Entry 53]),

 Cole Schotz prepared and filed a supplemental brief in further support of the Motion to Dismiss.

 (Brief in Support [Dkt. Entry 63]; Kiel Decl. at ¶ 6.) Additionally, Cole Schotz appeared for oral

 argument on two occasions, and participated in numerous telephone conferences with the Court

 and counsel. (Kiel Decl. at ¶ 7.) Following the telephone conferences, Cole Schotz engaged in

 substantial negotiations relating to the forms of interim orders. (Id.)

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Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 5 of 7 PageID: 1279




          While Cole Schotz has performed substantial services for the Avatar Parties, the Avatar

 Parties have not satisfied their obligations under the Retainer Agreement. (Id. at ¶ 8.) Despite

 having been provided numerous extensions of time for the payment of the invoices, the Avatar

 Parties have failed to compensate Cole Schotz for a very large and significant portion of the legal

 fees and expenses incurred to date. (Id. at ¶¶ 8-9.)

          Additionally, Edward Kiel has spoken extensively with Mr. Naar concerning the overdue

 invoices and advised that Cole Schotz cannot continue to represent the Avatar Parties without

 payment of the significant outstanding balance. (Id. at ¶ 10.) Based on those conversations, it is

 Cole Schotz’s conclusion that there is no reasonable assurance that payment is forthcoming or

 that future invoices for legal fees and costs will be paid. (Id.)

                                           LEGAL ARGUMENT

          Local Civil Rule 102.1 provides that an attorney must seek leave to withdraw as counsel,

 unless other counsel is substituted. L. CIV. R. 102.1. Pursuant to New Jersey Rule of

 Professional Conduct 1.16(b)(5) and (6), an attorney may withdraw from representing a client if:

                   (5) the client fails to substantially to fulfill an obligation to the
                   lawyer regardng the lawyer’s services and has been given
                   reasonable warning that the lawyer will withdraw unless the
                   obligation is fulfilled; [or]

                   (6) the representation will result in an unreasonable financial
                   burden on the lawyer . . .

                   [R.P.C. 1.16(b)(5)-(6).]

 Whether to grant a motion to withdraw as counsel is left to the Court’s sound discretion.

 Mazariegos v. Monmouth Cnty. Corr. Inst., No. 12-cv-5626, 2017 WL 6606856, at *2 (D.N.J.

 Dec. 27, 2017) (J. Wolfson). The Court should examine the following criteria in considering

 such a motion: “(1) the reasons why withdrawal is sought, (2) the prejudice withdrawal may

 cause the litigants, (3) the harm withdrawal might cause to the administration of justice[,] and (4)

                                                       2
 58225/0001-16504826v2
Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 6 of 7 PageID: 1280




 the degree to which withdrawal will delay resolution of the case.” Haines v. Liggett Grp., Inc.,

 814 F.Supp. 414, 423 (D.N.J. 1993).

           The failure to pay legal fees is recognized as a justifiable reason for an attorney’s

 withdrawal from a case. Jacobs v. Pendel, 98 N.J. Super. 252, 255 (App. Div. 1967).

 Additionally, leave to withdraw is warranted where withdrawal will not delay the resolution of

 the case, when discovery is ongoing, and the Court has neither entered a final pretrial order nor

 set a trial date. Cherry Hill Convalescent Center, Inc. v. Healthcare Rehab. Sys., Inc., 994

 F. Supp. 244, 253 (D.N.J. 1997); Magargal v. N.J., No. 07-cv-3531, 2011 WL 5526077, at *2 (D.N.J.

 Nov. 14, 2011) (allowing counsel to withdraw where the case was “still in its relative infancy[]”)

 (J. Bongiovanni); Marketvision/Gateway Res. v. Priority Pay Payroll, Nos. 10-cv-1537, 10-

 1611, 10-2753, 2011 U.S. Dist. Lexis 74851, at **6-8 (D.N.J. 2011) (where the litigation was in

 an early stage, withdrawal was allowed where the client failed to compensate the law firm) (J.

 Shipp).

           This matter is in its infancy. Resolution of the Order to Show Cause remains pending.

 Several interim orders have been entered in order to provide an opportunity for the parties to

 work together to resolve the dispute. The Motion to Dismiss remains pending, with plaintiffs’

 opposition due on November 12, 2018. Initial discovery has been exchanged, however, those

 exchanges were in connection with the Order to Show Cause and the appointment of an

 independent accountant to review financial transactions. The parties have not conducted any

 depositions.

           In the same vein, there will be no prejudice to the parties if Cole Schotz’s request is

 granted and there will be no significant delay in the proceedings. The last interim order is

 enforceable through December 19, 2018 and provides for interim relief and a mechanism through



                                                     3
 58225/0001-16504826v2
Case 2:18-cv-11047-KM-JBC Document 72-2 Filed 11/02/18 Page 7 of 7 PageID: 1281




 which the properties that are the subject to his dispute can be sold in an orderly manner. (Interim

 Order [Dkt. Entry 71].) Also, the pending Motion to Dismiss is based upon the pleadings and

 involves questions or law. New counsel for the Avatar Parties should not face substantial

 difficulty in reviewing the pleadings, understanding the issues, and responding to any opposition.

                                           CONCLUSION

          For the foregoing reasons, Cole Schotz respectfully requests that the Court grant leave for

 it to withdraw as counsel.

                                                       COLE SCHOTZ P.C.
                                                       Attorneys for Defendants Gath Andre Naar
                                                       and Avatar Management LLC



                                                       By:     /s/ Edward S. Kiel
                                                               Edward S. Kiel
                                                               Eric S. Latzer
                                                               Elizabeth A. Carbone

 DATED: November 2, 2018




                                                   4
 58225/0001-16504826v2
